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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                               Chapter 11

FTX TRADING LTD., et al., 1                          Case No. 22-11068 (JTD)

         Debtors.                                    (Jointly Administered)

                                                     Ref. No. 280


SECOND SUPPLEMENTAL DECLARATION OF WILLIAM A. BURCK IN SUPPORT
 OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
  THE RETENTION AND EMPLOYMENT OF QUINN EMANUEL URQUHART &
 SULLIVAN, LLP AS SPECIAL COUNSEL FOR THE DEBTORS AND DEBTORS IN
          POSSESSION, NUNC PRO TUNC TO NOVEMBER 13, 2022

         I, William A. Burck, being duly sworn, hereby state as follows:

         1.     I am the global co-managing partner of the law firm Quinn Emanuel Urquhart &

Sullivan, LLP (“Quinn Emanuel”), special counsel to FTX Trading Ltd. and its affiliated debtors

and debtors in possession (collectively, the “Debtors”).

         2.     I submit this second supplemental declaration (the “Second Supplemental

Declaration”) to supplement my Prior Declarations (defined below) that have been submitted in

connection with Quinn Emanuel’s retention in these chapter 11 cases. Unless otherwise stated in

this Second Supplemental Declaration, I have personal knowledge of the facts set forth herein and,

if called as a witness, I would testify thereto. 2

         3.     On November 11 and November 14, 2022, the Debtors filed with the United States


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
2
    Certain of the disclosures herein relate to matters within the knowledge of other professionals
    at Quinn Emanuel and are based on information provided by them.
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Bankruptcy Court for the District of Delaware voluntary petitions for relief under title 11 of the

United States Code, 11 U.S.C. §§ 101 et seq.

       4.      On December 21, 2022, the Debtors filed the Debtors’ Application for Entry of an

Order Authorizing the Retention and Employment of Quinn Emanuel Urquhart & Sullivan, LLP

as Special Counsel for the Debtors and the Debtors in Possession, Nunc Pro Tunc to November

13, 2022 [Docket No. 280] (the “Application”) and attached thereto as Exhibit B to the Application

was the Declaration of William A. Burck in Support of the Debtors’ Application for Entry of an

Order Authorizing the Retention and Employment of Quinn Emanuel Urquhart & Sullivan, LLP

as Special Counsel for the Debtors and Debtors in Possession, Nunc Pro Tunc to November 13,

2022 (the “Initial Declaration”). On January 14, 2023, I submitted the Supplemental Declaration

of William A. Burck in Support of the Debtors’ Application for Entry of an Order Authorizing the

Retention and Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for

the Debtors and Debtors in Possession, Nunc Pro Tunc to November 13, 2022 [Docket No. 497]

(together with the Initial Declaration, the “Prior Declarations”).

       5.      On January 20, 2023, the Court entered the Order Authorizing the Retention and

Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for the Debtors and

Debtors in Possession, Nunc Pro Tunc to November 13, 2022 [Docket No. 548].

       6.      I submit this Second Supplemental Declaration to disclose certain additional

information which has come to my attention since the filing of the Prior Declarations.

                             Additional Potential Parties in Interest

       7.      In connection with its retention by the Debtors in this case, Quinn Emanuel has

undertaken an ongoing analysis to determine whether any material relevant facts or relationships

have arisen or been discovered. In connection therewith, it has come to Quinn Emanuel’s attention

that the entities identified on Schedule 1 attached hereto (the “New Parties”) are parties involved

in the Debtors’ chapter 11 cases who were not identified on the schedules to the Prior Declarations.
                                                  2
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The New Parties together with the parties identified on the schedules to the Prior Declarations are

hereinafter referred to as the “Potential Parties in Interest.”

        8.      Based on the review protocol described in the Initial Declaration, the relationships

with the New Parties are identified on Schedule 2 attached hereto.

        9.      Based on the results of its review, to the best of my knowledge, except as set forth

herein or in the Prior Declarations, Quinn Emanuel does not have an active relationship with any

of the Potential Parties in Interest in matters relating to the Debtors’ chapter 11 cases.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

        Executed on April 5, 2024.

                                                        __/s/ William A. Burck_______________
                                                        William A. Burck
                                                        Partner
                                                        Quinn Emanuel Urquhart & Sullivan, LLP




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